      Case: 1:21-cv-03364 Document #: 1 Filed: 06/23/21 Page 1 of 13 PageID #:1




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

Micah Uetricht,                              )
Marianela D’Aprile, and                      )
John Kaderbek,                               )       No.
                                             )
                      Plaintiffs,            )
                                             )
v.                                           )
                                             )
                                             )
Chicago Parking Meters, LLC,                 )
                                             )
                      Defendant.             )

                                         COMPLAINT

       Plaintiffs Micah Uetricht, Marianela D’Aprile, and John Kaderbek complain against

Defendant Chicago Parking Meters, LLC (“CPM”), as follows:

                                       INTRODUCTION

      1.       Plaintiffs are licensed drivers and Chicago residents who pay parking fees to

CPM, pursuant to a June 5, 2013 Parking Meter Concession Agreement, entered by and between

the City of Chicago and CPM, attached to this Complaint as Exhibit A. Plaintiffs refer to that

Agreement throughout this Complaint as the “June 2013 Agreement” or just the “Agreement.”

      2.       Under the June 2013 Agreement, the City of Chicago granted CPM, a private

party, monopoly control over the City’s parking meter system for an astonishing 75-year-long

period, without regard for the changes in technology and innovations in transportation taking

place now and for the rest of the century, without regard for the rapidly changing consumer

needs and preferences for different types of transportation, and without regard for changes in

transportation resulting from climate change and the imperative need to reduce greenhouse gas

emissions.



                                                 1
      Case: 1:21-cv-03364 Document #: 1 Filed: 06/23/21 Page 2 of 13 PageID #:2




      3.       Specifically, under the Agreement, the City has granted CPM the exclusive right,

for 75 years, to require a fixed number of parking spaces to be set aside for CPM’s exclusive

benefit, and also imposed special restrictions on competing forms of transportation such as

bicycles, ride sharing, public transit, and the onset of driverless cars – thereby restricting or

delaying the introduction of better, faster, and environmentally safer forms of transportation.

      4.       Further, the June 2013 Agreement bars both active regulation by the City over the

terms on which CPM serves the public, including the rates that CPM charges for the fixed

number of parking spaces that it unilaterally sets, as well as rebidding or bidding for the same

contract for 75 years by CPM competitors, several of which could provide the same services for

a smaller number of meters and in a manner that is environmentally safe and consistent with

consumer needs and preferences.

      5.       Plaintiffs, who are consumers, have suffered and continue to suffer harm as a

direct result of the unreasonable 75-year monopoly that the City has granted to CPM under the

June 2013 Agreement.

      6.       For example, Plaintiffs frequently use public transit and ride sharing, and expect

to soon use driverless cars, all of which are more attractive and safer means of transportation that

do not require on-street parking, and which would be more widely available to Plaintiffs but for

the City granting CPM the 75-year monopoly and allowing it to set a fixed number of parking

spaces on public streets for its exclusive benefit throughout that lengthy period.

      7.       Plaintiffs have similarly been harmed because their preferences for street closures

for pedestrian use, which other cities have introduced, are also less available or excluded or

delayed because of the unreasonable 75-year monopoly the City has granted to CPM. And, as

just one final example, because the unreasonable 75-year monopoly granted to CPM has both



                                                   2
      Case: 1:21-cv-03364 Document #: 1 Filed: 06/23/21 Page 3 of 13 PageID #:3




limited the number of bike lanes in the City and made the existing bike lanes more dangerous as

a result of increased on-street parking.

      8.        Plaintiffs challenge the June 2013 Agreement pursuant to both federal and state

law, as follows:

      9.        Count I, asserts that CPM’s monopoly control over the City’s parking meters

violates Section 2 of the Sherman Act, 15 U.S.C. 2.

      10.       Count II asserts that the June 2013 Agreement, as a result of its unreasonable

length in excluding other bidders to take over the control of the City’s parking meters and failure

to offer more flexibility in removal of such meters, is an unlawful exclusive dealing agreement in

violation of Section 1 of the Sherman Act, 15 U.S.C. 1.

      11.       Count III asserts that the conduct of Defendant CPM’s business under the June

2013 Agreement is an unfair trade practice in violation of the Illinois Consumer Fraud and

Deceptive Practices Act, 815 ILCS 505/1 et seq.

                                           THE PARTIES

            12. Plaintiffs Micah Uetricht, Marianela D’Aprile, and John Kaderbek are residents of

Chicago, who each have a valid driver’s licenses, and who have at times paid for parking at

meters controlled by CPM, and expect to continue to pay such parking fees to CPM in the future.

            13. Defendant CPM is a Delaware limited liability company, doing business in

Illinois, with its principal office located 205 N. Michigan Ave. #1910, Chicago, Illinois 60601.

            14. As noted above, Defendant CPM is a signatory and party to the June 2013

Agreement.


                                           JURISDICTION




                                                 3
      Case: 1:21-cv-03364 Document #: 1 Filed: 06/23/21 Page 4 of 13 PageID #:4




          15. This Court has jurisdiction over Plaintiff’s federal claims in Counts I and II under

28 U.S.C. §§ 1331 and 1337.

          16. This Court has supplemental jurisdiction over Plaintiffs state law claim in Count

III under 28 U.S.C. § 1367.


                                               FACTS

          17. On December 4, 2008, the Chicago City Council approved then-Mayor Richard J.

Daley’s proposal to lease the City’s metered parking system to a private party, CPM, for 75 years

under an agreement entitled “Chicago Metered Parking System Concession Agreement dated as

of December 4 2009 by and between the City of Chicago and Chicago s LLC” (“the Original

Agreement”).

          18. On June 5, 2013, the City entered into an amended and restated agreement with

CPM that covered the same rights and obligations as the Original Agreement. As noted above

on page 1, this Complaint refers to the current operative agreement as the “June 2013

Agreement” or just the “Agreement.”

          19. Under Agreement Section 2.1, CPM controls the meter parking system, all system

property, and all revenues produced from the system within the City of Chicago.

          20. On February 13, 2009, pursuant to Section 2.1, the City of Chicago transferred

control of the City’s approximately 36,000 on street parking meters to CPM for a 75-year period,

in exchange for a $1,156,500,000 payment to the City.

          21. Thereafter, under the Agreement, rates for parking have more than doubled.

          22. In 2008, prior to the adoption of the Agreement, City of Chicago was collecting

$23.8 million in annual parking meter rates.




                                                 4
      Case: 1:21-cv-03364 Document #: 1 Filed: 06/23/21 Page 5 of 13 PageID #:5




          23. In contrast, in 2019, according to a financial report by the auditing firm KPMG,

CPM collected over $138.7 million in annual parking meter rates.

          24. This amount includes $27 million in so called “true up” payments to CPM for

compensation to CPM when the City uses its reserved powers or police powers for the public

health and safety in a manner that affects the compensation to CPM.

          25. By the end of 2019, CPM had already recovered $500 million more than its

original $1.16 billion investment, including revenue from the City for “true up” payments, with

60 years still to go on the remainder of the lease.

          26. The rates to be charged are fixed by the Original Agreement enacted in 2008 and

cannot be changed or adjusted by the City of Chicago unilaterally.

          27. The City of Chicago may not actively regulate rates or the number of spaces

without a large penalty being imposed upon the City if the City deviates from the terms

guaranteed to CPM.

          28. As set out in the Original Agreement, CPM obtained provisions that assure the

unnatural life of its monopoly for a 75-year period, without any new entrant or competitive

bidding by a new entrant that could provide the same service with fewer restrictions on the

number of parking spaces that can be removed or setting a lower cost in doing so.

          29. The June 2013 Agreement continues this lengthy period for restrictions on

removal of parking spaces and for preventing either rebidding of the terms of service or easing in

the barriers to the new or alternative forms of transportation desired by Plaintiffs and other

consumers.

          30. Such restrictions on rebidding of a 75-year monopoly which the City is not

otherwise free to actively regulate is already preventing or delaying the expanded use of bike



                                                  5
      Case: 1:21-cv-03364 Document #: 1 Filed: 06/23/21 Page 6 of 13 PageID #:6




lanes, bus lanes, ride sharing, and ultimately driverless cars that would flow faster and be

preferable to consumers like Plaintiffs and local businesses.

            31. Because the City could not intelligently foresee the consequences of a 75 year

Agreement that it could not actively regulate, CPM has already made a windfall profit, and an

even greater profit than any other utility in Illinois, or any utility which the government is free to

regulate.

            32. Over the 75-year life of the Agreement, having already profited by $500 million,

CPM has achieved and will have achieved an extraordinary rate of return on its original $1.16

billion investment, at the expense of consumers like Plaintiffs who prefer other uses of the

transportation grid on which this windfall profit depends.

            33. Crucial to this windfall profit by CPM – and windfall profit to come – are the

City’s guarantees in Section 14.3 and other sections of the Agreement, providing that the City

will no longer freely exercise its sovereign power or “Reserved Powers” as before to protect the

public health, public convenience, and public safety when to do so would adversely affect

compensation to CPM.

            34. Under Agreement Section 14.3, the City of Chicago may use its Reserved Powers

only if the City reimburses CPM at a level that makes any large-scale removal of meters

prohibitively expensive, and thereby frustrates consumer preferences for new or better forms of

mobility in a time of climate change and major technological changes in transportation.




                                   CLASS ACTION ALLEGATIONS



                                                  6
      Case: 1:21-cv-03364 Document #: 1 Filed: 06/23/21 Page 7 of 13 PageID #:7




          35. Pursuant to Federal Rule of Civil Procedure 23(b)(2), Plaintiffs seek to certify a

class of all persons who are licensed drivers and paying for CPM parking meters, for the purpose

of seeking injunctive relief.

          36. Plaintiffs also reserve the right to convert this action to a class under Rule

23(b)(3) for monetary relief, if discovery determines that individual monetary relief is feasible

and appropriate.

                                            COUNT I
                           (Violation of Section 2 of the Sherman Act)

          37. Plaintiffs incorporate the allegations of paragraphs 1 through 34 as if stated in this

paragraph.

          38. As set forth above, and in violation of Section 2 of the Sherman Act, Defendant

CPM has obtained an unlawful monopoly for an unreasonable 75-year period over the lease of

parking spaces in a fixed number and at fixed rates and without active regulation by the City,

without regard to consumer preferences for alternative forms of transportation.

          39. The relevant product market is the rental of the parking spaces in the business and

commercial areas served by the City’s parking metered system, as described in the June 2013

Agreement.

          40. The relevant geographic market is the City of Chicago and the location of the

City’s parking metered system, as identified in the June 2013 Agreement.

          41. CPM’s monopoly control of this distinctive market as described in the June 2013

Agreement is not subject to active regulation by the City, nor is it subject to rebidding at

reasonable intervals by competitors to CPM that would offer the same service but with fewer or

less onerous restrictions on alternative forms of transportation by reducing the cost of removing

parking meters.

                                                  7
      Case: 1:21-cv-03364 Document #: 1 Filed: 06/23/21 Page 8 of 13 PageID #:8




           42. There is no state law, regulatory body, or officer that has specifically authorized

this sale of the meters to CPM, and no analogue at the state level for the grant of a monopoly of

this nature.

           43. Accordingly, the City has no Home Rule Authority for such an action when there

is no precedent for such action by the State of Illinois itself to justify similar action under the

City’s Home Rule Authority.

           44. Nor is there any City of Chicago legislative body, regulatory body, or officer

exercising active oversight or supervision of what CPM may charge to Plaintiffs or conditions

and terms on which parking meters may be removed.

           45. By such acts, and in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2,

CPM is exercising illegal monopoly power that depends on maintaining barriers to other better

forms of transportation over an unreasonable 75 year period and frustrating the needs and

preferences of Plaintiffs and other consumers for bicycle lanes, bus lanes, and easier traffic flow

for ride sharing and driverless cars.

           46. By such acts, and in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2,

CPM is receiving windfall profits from Plaintiffs and other class members by maintaining an

outmoded parking system adverse to their interest for a 75-year period without active regulation

by the City or rebidding by competitors that would offer the same service with fewer restrictions

on alternative transportation uses on city streets.

           47. Under 15 U.S.C. § 26, any person, including Plaintiffs and class members, “shall

be entitled to sue for and have injunctive relief entered . . . against threatened loss or damage by

a violation of the antitrust laws.”




                                                   8
      Case: 1:21-cv-03364 Document #: 1 Filed: 06/23/21 Page 9 of 13 PageID #:9




          48. Under this provision, Plaintiffs are entitled to injunctive relief against Defendant

CPM’s continued enforcement of the June 2013 Agreement.

          49. Over the next sixty years, Plaintiffs face threatened loss or damage by increased

congestion of city streets from parked cars and the reduced availability of competing forms of

transportation, including bicycling, public transit, ride sharing, and driverless cars.

          50. Plaintiffs also face threatened loss or damage from paying for an increasingly

outmoded parking system that does not serve their interests and delays or inhibits the increased

use or availability of better carbon free means of transportation existing now, as well as new

technological innovations that are certain to come over the next sixty years.

          51. Accordingly, Plaintiffs and other class members seek an injunction restraining

CPM from collecting any additional revenue under the CPM Agreement, or in the alternative,

while this action is pending, to place such sum in escrow, unless and until such Agreement has

been reformed by the parties to ensure active regulation by the City and the rebidding now and at

reasonable intervals by CPM and others capable of providing the same service.

       WHEREFORE, Plaintiffs pray this Court to:

   A. Certify the proposed class under Fed. R. Civ. P. 23(b)(2), for purpose of injunctive relief

       only;

   B. Declare pursuant to 28 U.S.C. §2201 that the CPM Agreement is in violation of Section 2

       of the Sherman Act, 15 U.S.C. § 2;

   C. Grant the injunctive relief set forth in paragraph 51 above, until it has been reformed to

       comply with the judicially implied exemption under 15 U.S.C.§ 2 for an actively

       regulated public monopoly;




                                                  9
    Case: 1:21-cv-03364 Document #: 1 Filed: 06/23/21 Page 10 of 13 PageID #:10




   D. Grant Plaintiffs their legal fees and costs, either by an award of fees directly or by

       permitted recovery from any common or monetary fund created by this action; and

   E. Grant Plaintiffs such other relief as this Court deems just and proper.

                                              COUNT II
                                   (Section 1 of The Sherman Act)

          52. Plaintiffs incorporate the allegations of paragraphs 1 through 50 as if stated in this

paragraph.

          53. As a form of exclusive dealing in violation of Section 1 of the Sherman Act, 15

U.S.C. §1, CPM has entered into and continues to enforce such an agreement for an

unreasonable 75-year period from the date of the Original Agreement.

          54. For the better part of the 21st century, the Agreement restricts any new bidding by

competitors to provide the same service on terms more favorable to consumers, including lower

rates for what is an increasingly outmoded parking system and for fewer restrictions on removal

of parking spaces to facilitate public transit, bicycling, ride-sharing, driverless cars and other

alternative uses better for consumers and local businesses they patronize.

          55. Because of actual or threatened injury to them over the next sixty years, Plaintiffs

are entitled to injunctive relief as set forth in paragraph 51 above

   WHEREFORE, Plaintiffs pray this Court to:

   A. Certify the proposed class under Fed. R. Civ. P. 23(b)(2), for purpose of injunctive relief

       only;

   B. Declare pursuant to 28 U.S.C. §2201 that the CPM Agreement as described above is in

       violation of Section 1 of the Sherman Act, 15 U.S.C.§ 1;




                                                  10
     Case: 1:21-cv-03364 Document #: 1 Filed: 06/23/21 Page 11 of 13 PageID #:11




    C. Grant the injunctive relief set forth above in paragraph 51, until the CPM Agreement has

        been reformed for a reasonable period of time and otherwise to comply with Section 1 of

        the Sherman Act, 15 U.S.C.§1;

    D. Grant Plaintiffs their legal fees and costs, either by a direct award of fees from

        Defendant, or recovery from any common or monetary fund created by this action; and

    E. Grant such other relief as this Court deems just and proper.

                                       COUNT III
                        (Consumer Fraud and Deceptive Practices Act)

           56. By the acts set forth above, and in violation of the Consumer Fraud and Deceptive

Practices Act, 815 ILCS 505/1 et seq., Defendant CPM has been and is engaging in an unlawful

trade practice to the detriment and expense of Plaintiffs and the Proposed Class under Rule

23(b)(2) F.R.Civ.P. as set forth above.

           57. An unfair trade practice under the Illinois Consumer Fraud Act is any practice by

a seller of goods or services that is either (1) against the public policy of the State; (2) immoral,

oppressive, or unethical: (3) causing substantial injury, or (4) that has any combination of factors

(1), (2), and (3).

           58. The unfair trade practice set out here is against the public policy of Illinois,

including but not limited to Section 3(3) of the Illinois Antitrust Act, 740 ILCS 10/3(3), in that

there is no active regulation of the monopoly granted to CPM, and because the City cannot

intelligently foresee the consequences of entering such an Agreement for 75 years while giving

up such active regulation.

           59. As to the second factor, it is immoral and oppressive to require Plaintiffs and

other class members to confer a windfall on CPM for maintaining an outmoded parking system

over the next 60 years, when that return is out of all proportion to the service provided by CPM,

                                                  11
    Case: 1:21-cv-03364 Document #: 1 Filed: 06/23/21 Page 12 of 13 PageID #:12




and the system itself frustrates their own preferences for transportation alternatives that do not

require massive use of parking cars on city streets.

          60. As to the third factor, there is substantial injury on consumers like Plaintiffs to be

denied alternatives that are of greater convenience and safety to them and do not inhibit faster,

easier, and/or carbon free methods of transportation throughout the City.

          61. By any factor independently, or by the combination of these three factors, CPM

has engaged in and continues to engage in an unfair trade practice in violation of the Illinois

Consumer Fraud Act.

          62. Pursuant to Section 10(b) of the Illinois Consumer Fraud Act, there is no statutory

exemption for such an unfair trade practice, as there is no state law, officer, or regulatory body

that has approved the June 2013 Agreement.

          63. Furthermore, by statute, the Illinois General Assembly may limit the authority of

a home rule unit to authorize or provide an exemption for an unfair trade practice.

          64. Under Section10a(c) of the Illinois Consumer Fraud Act, Plaintiffs are “persons”

who may seek injunctive relief against any person, which includes corporations, that are

conducting business in violation of the Act.

          65. Accordingly, Plaintiffs and the Plaintiff Class seeks an injunction restraining

CPM from collecting any additional revenue under the Agreement, or in the alternative, while

this action is pending, to place such sum in escrow, unless and until such Agreement has been

reformed by the parties in an appropriate manner and approved by state law or otherwise

rescinded altogether.

       WHEREFORE Plaintiffs pray this Court to:

   A. Certify the proposed class under Rule 23(b)(2), for purpose of injunctive relief only;



                                                 12
    Case: 1:21-cv-03364 Document #: 1 Filed: 06/23/21 Page 13 of 13 PageID #:13




   B. Grant the injunctive relief set forth above;

   C. Grant Plaintiffs their legal fees, either by direct award from the Defendant, or by recovery

       from any common or monetary fund created by this action; and

   D. Grant such other relief as this Court may deem just and proper.



                                     ______/s/ Thomas Geoghegan____________

                                     One of the Attorneys for Plaintiffs


Michael Persoon
Will Bloom
Thomas Geoghegan
DESPRES, SCHWARTZ AND GEOGHEGAN, LTD.
77 West Washington St., Suite 711
Chicago IL 60602
mpersoon@dsgchicago.com
wbloom @dsgchicago.com
tgeoghegan@dsgchicago.com
312 -372 2511


Stuart J. Chanen
Ariel Olstein
CHANEN & OLSTEIN
7373 N. Lincoln Ave., Suite 100
Lincolnwood, IL 60712
Stuart@ChanenOlstein.com
Ariel@ChanenOlstein.com
847-469-4669

Attorneys for Plaintiffs




                                               13
